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                                        Attachment
                    F19-00105 Processed and Produced Page Counts Chart
Interim/       Bates     No. of      Blank,        Produced to    No. of     Pages
Monthly        Nos.      Pages       Duplicate,    Bain=B         Pages      Produced
Interim                  Processed   Non-          Consult=C      Produced   and
                                     responsive                              Processed
                                                   Withheld in
                                     Pa2es         Full=WIF
                                                   B=314*
SEPT2022       1547-
                         500         0             C=186 (EOIR,   500        500
               2046
                                                   DHS, FBI)
                                                   B=399
               2047-
 OCT2022                 501         61            C=38 (EOIR)    440        501
               2445
                                                   WIF=3
                                                   B=l74
               2487-                               C=l57 (EOIR)
 NOV 2022                527         188                          339        527
               2825                                C=3 (OIG)
                                                   WIF=5
                                                   B=l51
               2826-
 DEC2022                 500         301           C=47 (EOIR)    199        500
               3024
                                                   WIF=l
                                                   B=89
               3025-
 JAN2023                 500         358           C=38 (EOIR)    142        500
               3166
                                                   WIF=l5
               3167-
 FEB2023                 500         487           B=l3           13         500
               3179
 MAR2023       --        500         74            WIF=426          0        500
 APR2023       --        500         396           WIF=l04          0        500
 MAY2023       --        500         500           0                0        500
                                                   B=30
               3180-                                C=106 (EOIR,
 JUNE2023                1,842       1,654                          188      1,842
               3367                                OIP, DHS)
                                                   WIF=52
                                                    B=90
               3368-                                C=202 (EOIR,
 JULY2023                504         205                            297      504
               3664                                 EEOC)
                                                   WIF=5
 AUG2023       --        648         648           0                0        648
                                                   Total Produced 3,664
                                                   Total Produced and
                                                                             9,228
                                                   Processed




                                             -3-
